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UNITED STATES DISTRICT COURT
FOR DISTRICT OF NEVADA

GREGORY S LEVY JR ) JURY TRIAL DEMANDED
Plaintiff, )
)
v. ) Case No.
CLIENT SERVICES INC ) Ps 23eeve Bt O99-APG-NDK
Defendant, ) | ENTER ~__ SERVED CG. |
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PLAINTIFF RESPONSE TO DEFENDANT MOTION TO DISMISS DOC [15]

Plaintiff Complaint states a claim(s) for violations of the FDCPA sufficient
to survive a Rule 12(b)(6) motion to dismiss because Defendants know or
should’ve known after being told twice.

LEGAL STANDARD

A Piaintiff’s claim will be dismissed if it fails to state a claim upon which relief
can be granted. Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss under Rule
12(b)(6), the Plaintiff must plead “enough facts to state a claim to relief that is plausible
on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is plausible
when the plaintiff pleads “factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556
U.S. 662, 678 (2009). In ruling on a Rule 12(b)(6) motion to dismiss, a court “accept[s]

factual allegations in the complaint as true and construc[s] the pleadings in the light most

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favorable to the nonmoving party.” Manzarck v. St. Paul Fire & Marine Ins. Co., 519
F.3d 1025, 1031 (9th Cir. 2008). A court is not required, however, to “assume the truth of
legal conclusions merely because they are cast in the form of factual allegations.” Fayer
v. Vaughn, 649 F.3d 1061, 1064 (9th Cir. 2011) (per curiam) (internal quotation omitted).
“[C]onclusory allegations of law and unwarranted inferences are insufficient to defeat a
motion to dismiss.” Adams v. Johnson, 355 F.3d 1179, 1183 (9th Cir. 2004).
Additionally, “[n]o greater particularity is necessary in stating the claim for relief in a
class action than in other contexts.” 7B Charles Alan Wright & Arthur R. Miller, Federal

Practice and Procedure § 1798 (3d ed.).

FDCPA CLAIM
Defendant argues that Plaintiff has failed to state a claim for relief under the
FDCPA. A Plaintiff alleges an FDCPA claim by alleging: (1) The Plaintiff is a consumer;
(2) the debt involved meets the definition of debt in the FDCPA; (3) the Defendant is a
debt collector; and (4) the defendant committed an act prohibited by the FDCPA. Turner
v. Cook, 362 F.3d 1219, 1227-28 (9th Cir. 2004); Heejon Chung v. U.S. Bank, N.A., 250

F. Supp. 3d 658, 680 (D. Haw. 2017).

The first element of an FDCPA claim is that the Plaintiff is a consumer. Heejon
Chung, 250 F. Supp. 3d at 680. A consumer is a person obligated or allegedly obligated

to pay a debt. 15 U.S.C. § 1692a(3). Here, Plaintiff has alleged that he is a consumer

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because he was allegedly obligated to pay a debt from Chase Bank. Thus, Plaintiff has

alleged the first element of an FDCPA claim.

The second element of an FDCPA claim is that the debt involved mects the
definition of debt in the FDCPA. Heejon Chung, 250 F. Supp. 3d at 680. A debt is an
obligation or alleged obligation to pay money from a transaction that is primarily for
personal, family, or houschold purposes. Id. § 1692a(5). Here, Plaintiff alleged debt
resulted from Credit Card from Chase Bank. Medical which qualifies as a family

purpose. Thus, Plainitff has alleged the second clement of an FDCPA claim.

The third element of an FDCPA claim is that the defendant is a debt collector.
Heejon Chung, 250 F. Supp. 3d at 680. A debt collector is a person who uses an
instrumentality of interstate commerce to engage in a business in which the principal
purpose is the collection of debts, or regularly attempts to collect debts owed or due to
another. Id. § 1692a(6). Plaintiff alleges in his complaint that Defendant regularly
engages in the practice of debt collection. Therefore, Plaintiff has alleged the third
element of an FDCPA claim.

The fourth and final element of an FDCPA claim is that the defendant committed
an act prohibited by the FDCPA. Heejon Chung, 250 F. Supp. 3d at 680. Among the
many ways a debt collector can violate the FDCPA when a consumer’s statement was
“could not talk to him at work” while ambiguous, is nevertheless sufficient to put the

collector on notice that she was prohibited from engaging in debt collection

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communications at work. Horkey v. J.V.D.B. & Assoc., 333 F.3d 769 (7th Cir. 2003).
Even if an employer does not have a formal policy as to collection calls at work, a call to
the consumer at work might also violate FDCPA § 1692c(a)(1) as a contact at an
inconvenient time or place. See also Currier v. PDL Recovery Group, L.L.C., 2017 WL
712887 (E.D. Mich. Feb. 23, 2017); Dauval v. MRS BPO, L.L.C., 2013 WL 9921550
(M.D. Fla. June 27, 2013) (collection agency’s call to consumer’s place of employment
violated §§ 1692c(a)(1) and 1692c(a)(3)). Thus, Plaintiff complaint sufficiently states a
FDCPA claim.

The FDCPA does not define the word “inconvenient”
https:/www.merriam-webster.com/dictionary/inconvenient#:~:text=adjective-

IN- %E2%80%8Beon KHE2%8O%V8Bve VE2%8O%V8Bnient%20 in%2D,an%20inc

onvenient%20delay

: not convenient especially in giving trouble or annoyance : INOPPORTUNE
an inconvenient time. last visited September 7, 2023

In 1977, Congress enacted the FDCPA “to eliminate abusive debt
collection practices by debt collectors, to insure that those debt collectors who
refrain from using abusive debt collection practices are not competitively
disadvantaged, and to promote consistent State action to protect consumers

against debt collection abuses.”

This is an action for actual and statutory damages, legal fees and costs
pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et. seq
(hereinafter referred to as the “FDCPA”), which prohibits debt collectors from

engaging in abusive, deceptive, and unfair practices.

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If a violation occurs, “the FDCPA is a strict liability statute that makes debt
collectors liable for violations that are not knowing or intentional.” Donohue v.

Quick Collect, Inc., 592 F.3d 1027, 1030 (9th Cir. 2010).

Even a single violation of the FDCPA is sufficient to support liability. Taylor

vs. Perrin, Landry, deLaunay, & Durand, 103 F.3d 1232, 1238 (5th Cir. 1997).

The Defendant’s collection communications are to be interpreted under the
“unsophisticated consumer” standard. See Gammon vs. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

The Defendant's violation of the FDCPA is material because Defendant's
failure to contact Plaintiff during a convenient time period would make an
unsophisticated consumer believe that they did not have the rights Congress had
granted to them under the FDCPA. This violation of the FDCPA is sufficient to
show an injury-in-fact. Defendant’s collection actions alarmed, confused, and
distressed Plaintiff. Defendant’s collection actions constituted an illegal invasion
of Plaintiff's privacy and constituted an intrusion on Plaintiffs seclusion.

The Defendant's violation of the FDCPA is a material violation of the statute.

The Known or Should Be Known Standard for 1692c(a)(1):

FDCPA § 1692c(a)(1) provides that a collector cannot contact the consumer at a
time or place that is “known or should be known” as inconvenient. This clearly means

that once a debt collector receives a request to cease communication at specified

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inconvenient times or places, whether the request is made orally or in writing, the debt

collector then knows the time or place is inconvenient and must honor that request.

Chiverton v. Fed. Fin. Group, Inc., 399 F. Supp. 2d 96, 104 (D. Conn.
2005) (violation of § 1692c(a)(1), (3) where defendant repeatedly telephoned the
plaintiff at work after being told by the plaintiff he was not permitted to receive

personal calls at work).

The Known or Should Be Known Standard for 1692c(a)(3):

A debt collector knows or has reason to know that a consumer’s employer
prohibits the consumer from receiving communications if the consumer tells the debt
collector that the consumer cannot take personal calls at work.

A debt collector knows or has reason to know that a consumer's employer
prohibits the consumer from receiving such communication if, for example, the consumer
tells the debt collector that the consumer cannot take personal calls at work. See

also Horkey v. J.V.D.B. & Assoc., Inc., 333 F.3d 769 (7th Cir. 2003).

The Known or Should Be Known Standard in general:

As alleged in the Amended Complaint Plaintiff told the Defendant twice
“I’m currently at work so it’s not a good time for me to talk” this action is untimely
a material fact question left for a jury Plaintiff has put Defendant on notice of the

illegal conduct violating 1692c(a)(1), (3) of the FDCPA.

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Consumers is not required to use legally precise or sophisticated language
to assert FDCPA protections See also Horkey v. J.V.D.B. & Assoc., Inc., 333

F.3d 769 (7th Cir. 2003).

Lupia v. Medicredit, Inc. , 8 F.4th 1184, 1192 (10th Cir. 2021) ("Though a
single phone call may not intrude to the degree required at common law, that
phone call poses the same kindof harm recognized at common law—an
unwanted intrusion into a plaintiffs peace and quiet.") (emphasis in Lupia ).
In Lupia , the plaintiff did not answer the single telephone call and the debt
collector left a voicemail about the debt. Lupia, 8 F.4th at 1188. The injury
suffered from receipt of a single text message is tantamount to the injury suffered

from receipt of a single voicemail.

CONCLUSION

The events that happen here gives rise to actionable claim(s) under the

FDCPA and request that the Court DENIES the Motion to Dismiss.

Dated: September 8, 2023 Respectfully submitted:

Gregory S Levy JR, Pro Se
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CERTIFICATE OF SERVICE

| hereby certify that on the * day of September, 2023, a true and
correct copy of the above and foregoing was deposited in the U.S. Mail, first
class, postage pre-paid, addressed to:
Kurt Bonds

1160 North Town Center Drive Suite 330
Las Vegas, NV 89144

